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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

LESTER BURROUGHS,
CIVIL ACTION NO. 3:20-2231

Petitioner
(JUDGE MANNION)
V.
WARDEN ERIC BRADLEY,

Respondent

ORDER

 

In accordance with this court's memorandum issued this same day, IT

IS HEREBY ORDERED THAT:

1. Burroughs’ petition for a writ of habeas corpus (Doc. 1),
pursuant to 28 U.S.C. §2241 is DISMISSED without prejudice.

2. Burroughs’ motion for appointment of counsel and to certify
class (Doc. 7) is DISMISSED as moot.

3. The Clerk of Courtis directed to CLOSE the above captioned
case.

5| Malachy E. Mannion

MALACHY E. MANNION

United States District Judge
Dated: September 23, 2021

20-2231-01-Order

 
